          Case 1:21-cr-00175-TJK Document 815 Filed 06/06/23 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 21-CR-175 (TJK)
                                               :
ETHAN NORDEAN, et al.,                         :
                                               :
                       Defendants.             :

    GOVERNMENT’S INITIAL RESPONSE TO DEFENDANT REHL’S MOTIONS
                      TO SUBSTITUTE COUNSEL

       On June 4, 2023, Carmen Hernandez, counsel of record for defendant Zachary Rehl, moved

to withdraw as counsel and for a two-week extension of time for Rehl to file post-trial motions.

ECF 811. The following day, on June 5, attorney Norm Pattis, who represents co-defendant Joseph

Biggs, filed a motion to appear as lead counsel on Rehl’s behalf. ECF 812. Later the same day,

attorney Roger Roots filed a motion on behalf of Dominic Pezzola to extend the deadline for the

filing of post-trial motions. ECF 813. For the reasons outlined herein, the government believes that

this Court must address the potential conflicts issues before proceeding with post-trial litigation.

Accordingly, the Court should extend the deadline to file post-trial motions until such time as the

conflict can be addressed, and the government requests until Friday, June 9, 2023, at 5:00 p.m. to

file its substantive response to Rehl’s motions concerning his counsel.

       Federal Rule of Criminal Procedure 44(c) directs that when “two or more defendants have

been charged jointly . . . and [they] are represented by the same counsel,” the Court “must promptly

inquire about the propriety of joint representation and must advise each defendant of the right to

effective assistance of counsel, including separate representation.” Fed. R. Cr. P. 44(c). The rule

further directs that “[u]nless there is good cause to believe that no conflict of interest is likely to
          Case 1:21-cr-00175-TJK Document 815 Filed 06/06/23 Page 2 of 3




arise, the court must take appropriate measures to protect each defendant’s right to counsel.” Id.

This Court has examined potential conflicts in this case previously, and the potential conflicts that

arise now appear to involve the same rules. However, the potential conflicts that arise in this

particular instance present a different factual scenario than those the Court has previously resolved

in this and related cases. See United States v. Arthur Jackman, et al., 21-cr-378 (TJK), ECF 88.

Indeed, in this case, the Court must first determine whether the conflict is one that can be waived.

Compare D.C. Rules of Professional Conduct 1.7(a) and 1.7(b). Likewise, as it has before, the

Court must appoint independent counsel and address the potential conflicts with the affected

defendants.

        The government requests the opportunity to provide its analysis of the potential conflicts

in a subsequent filing, and it believes it can provide the Court its analysis by Friday. Most

importantly, if the Court should determine that the conflict is waivable, it is critical that the Court

“personally and forthrightly advise [each of the clients] of the potential dangers of representation

by counsel with a conflict of interest.” See United States v. Carlyle, 964 F. Supp. 8, 13 (D.D.C.

1997). The Court should address these potential conflicts expeditiously, yet also thoroughly and

thoughtfully. See, e.g., United States v. Santini, 85 F.3d 9, 13 (2d Cir. 1996) (“Convictions are

placed in jeopardy and scarce judicial resources are wasted when possible conflicts are not

addressed as early as possible. We therefore reiterate our admonition to the government in earlier

cases to bring potential conflicts to the attention of trial judges”).

        For the foregoing reasons, and the fact that at least one other defendant has asked for

additional time, the Court should vacate the post-trial briefing schedule and promptly address the

potential conflict. Once that process is complete, the Court should reset the post-trial briefing

schedule for all parties. Judicial economy dictates that the briefing schedule for this complex case



                                                   2
         Case 1:21-cr-00175-TJK Document 815 Filed 06/06/23 Page 3 of 3




remain consolidated, including at any appellate stage. For this reason, and the need to promptly

and fully address the potential conflicts issues, the Court should endeavor to first address and

resolve the potential conflict and then reinstate a briefing and sentencing schedule that facilitates

a comprehensive and consolidated analysis by the defendants, the government, and the Court.

                                         CONCLUSION

       For the foregoing reasons, the Court should extend the deadline for the government’s

substantive response to Rehl’s motions to Friday, June 9, 2023, at 5:00 p.m., and it should, as an

initial response to Rehl’s and Pezzola’s motions, vacate the deadlines for post-trial motions.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              DC Bar No. 481052

                                      By:     /s/ Jason McCullough
                                              JASON B.A. MCCULLOUGH
                                              NY Bar No. 4544953
                                              ERIK M. KENERSON, OH Bar No. 82960
                                              NADIA E. MOORE, NY Bar No. 4826566
                                                On Detail to the District of Columbia
                                              Assistant United States Attorneys
                                              601 D Street, N.W.
                                              Washington, D.C. 20530
                                              (202) 252-7201 //
                                              Erik.Kenerson@usdoj.gov


                                      By:     /s/ Conor Mulroe
                                              CONOR MULROE, NY Bar No. 5289640
                                              Trial Attorney
                                              U.S. Department of Justice, Criminal Division
                                              1301 New York Ave. NW, Suite 700
                                              Washington, D.C. 20530
                                              (202) 330-1788
                                              Conor.Mulroe@usdoj.gov




                                                 3
